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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 21-CV-

   CARA FUNK

                                  Plaintiff,

   v.

   TRIDO PROPERTIES, LLC

                           Defendant.
   ________________________________________________________________________

                                 COMPLAINT
   ________________________________________________________________________


          Plaintiff Cara Funk (“Plaintiff” or “Ms. Funk”), by and through her attorney, as

   and for her complaint against Defendant TRIDO PROPERTIES, LLC (“Defendant”),

   alleges as follows:

                                               I. CLAIM

          1.      Ms. Funk, a person with a physical disability and mobility impairments,

   brings this action for declaratory and injunctive relief, attorneys’ fees, costs, and

   litigation expenses against Defendant for violations of Title III of the Americans with

   Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

   Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

           2.     Defendant refused to provide Ms. Funk and others similarly situated with

   sufficient ADA-compliant parking in the parking lot that serves the Swan II Cleaners. At

   the Golden location, there is no ADA-Compliant Van Accessible space on the shortest

   access route to the main entrance. There is no disabled parking.



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            Based on these facts, Defendant has denied Ms. Funk the ability to enjoy the

   goods, services, facilities, privileges, advantages, and accommodations at Swan II

   Cleaners.



                              II. JURISDICTION AND VENUE

           3.     This Court has subject matter jurisdiction over this action pursuant to 28

   U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

   Act of 1990, 42 U.S.C. §12101, et seq.

           4.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

   events complained of occurred in Golden, Colorado where the Swan II Cleaners business

   is located.



                                         III. PARTIES

           5.     Plaintiff Cara Funk is resident of Denver. Ms. Funk has a disability and

   mobility impairments, as established by the Federal government and the Social Security

   Administration. Ms. Funk has a disabled placard on her vehicle from the State of

   Colorado. Ms. Funk has significant mobility impairments and uses assistive devices for

   mobility. She is a “qualified individual with a disability” within the meaning of ADA

   Title III.

           6.     Defendant TRIDO PROPERTIES, LLC, owns, manages, controls, and

   leases the improvements and building where the Swan II Cleaners is situated. The

   address of Swan II Cleaners is 820 Simms St, Golden, CO 80214. The business is a place

   of public accommodation, operated by a private entity, whose operations affect

   commerce within the meaning of Title III of the ADA.


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            7.    Defendant TRIDO PROPERTIES, LLC is the owner of the property.

   Defendant is a domestic limited liability company whose headquarters is 8691 E.

   Briarwood Blvd, Centennial, CO 80112. Defendant can be served process via service to

   its Registered Agent: Lawrence E. Gustafson at 950 S. Cherry St, Suite 300, Denver, CO

   80246.



                               IV. FACTUAL BACKGROUND

            8.    Swan II Cleaners is a business establishment and place of public

   accommodation in Golden, Colorado. Swan II Cleaners is situated on real estate,

   property, and improvements owned, controlled, managed, and leased out by TRIDO

   PROPERTIES, LLC.

            9.    Swan II Cleaners is not accessible to disabled individuals because it has

   zero ADA-Compliant Van Accessible parking spaces near the main office entrance. At

   the Golden location, there is no ADA-Compliant Van Accessible space (96” space with

   96” side access aisle) on the shortest access route to the main office. There is no disabled

   parking.

            10.   Pictures taken at the location prove this:




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   Swan II Cleaners business in Golden, CO. There is no ADA-Compliant Van
   Accessible space (96” wide with 96” side access aisle) on the shortest route to
   the main entrance. No disabled parking.




   Swan II Cleaners business in Golden, CO. There is no ADA-Compliant Van
   Accessible space (96” wide with 96” side access aisle) on the shortest route to
   the main entrance. No disabled parking.


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   Swan II Cleaners business in Golden, CO. There is no ADA-Compliant Van
   Accessible space (96” wide with 96” side access aisle) on the shortest route to
   the main entrance. No disabled parking.




   Swan II Cleaners business in Golden, CO. There is no ADA-Compliant Van
   Accessible space (96” wide with 96” side access aisle) on the shortest route to
   the main entrance. No disabled parking.


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   Swan II Cleaners business in Golden, CO. There is no ADA-Compliant Van
   Accessible space (96” wide with 96” side access aisle) on the shortest route to
   the main entrance. No disabled parking.


          11.     The Plaintiff went to Swan II Cleaners property in October of 2021.

          12.     In encountering and dealing with the lack of an accessible facility, the

   Plaintiff experienced difficulty and discomfort. These violations denied Plaintiff the full

   and equal access to facilities, privileges and accommodations offered by the Defendant.

   Plaintiff intends to return to Swan II Cleaners. By not having an ADA-compliant parking

   area, the Plaintiff’s life is negatively affected because he is not able to safely remove his

   mobility assistance devices without fear of being struck by a vehicle. This causes the

   Plaintiff depression, discomfort, and emotional stress and the Plaintiff is prevented from

   resuming a normal lifestyle and enjoying access to businesses in his area.

          13.     Additionally, on information and belief, the Plaintiff alleges that the

   failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

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   and obvious; (2) the Defendant exercised control and dominion over the conditions at this

   location and, therefore, the lack of accessible facilities was not an “accident” because

   Defendant intended this configuration; (3) Defendant has the means and ability to make

   the change; and (4) the changes to bring the property into compliance are “readily

   achievable.”

           14.     The Defendant’s Golden location does not have the required number of

   ADA parking spaces. With 1-25 parking spaces, Defendant must have one ADA-

   compliant Van Accessible space (96” Wide with 96” Side Access Aisle) with a sign. This

   space must be located on the shortest accessible route to the main entrance of the

   business. See pictures above.

           15.     At the Golden location, there is no ADA-Compliant Van Accessible space

   on the shortest access route to the main entrance. There is no disabled parking.

           16.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

   federal law for 30 years.



             V. CLAIM FOR RELIEF - VIOLATION OF THE AMERICANS
                 WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101


           17.     Plaintiff repleads and incorporates by reference, as if fully set forth again

   herein, the allegations contained in all prior paragraphs of this complaint.

           18.     Under the ADA, it is an act of discrimination to fail to ensure that the

   privileges, advantages, accommodations, facilities, goods and services of any place of

   public accommodation is offered on a full and equal basis by anyone who owns, leases,

   or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

   is defined, inter alia, as follows:


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                  a.     A failure to make reasonable modifications in policies practices, or

          procedures, when such modifications are necessary to afford goods, services,

          facilities, privileges, advantages, or accommodations to individuals with

          disabilities, unless the accommodation would work a fundamental alteration of

          those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

                  b.     A failure to remove architectural barriers where such removal is

          readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

          reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

                  c.     A failure to make alterations in such a manner that, to the

          maximum extent feasible, the altered portions of the facility are readily accessible

          to and usable by individuals with disabilities, including individuals who use

          wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

          the altered area and the bathrooms, telephones, and drinking fountains serving the

          altered area, are readily accessible to and usable by individuals with disabilities.

          42 U.S.C. § 12183(a)(2).

          19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

   Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

   Standards”), section 208.2, if a business provides between 1 and 25 parking spaces,

   Defendant must have at least one ADA-compliant Van Accessible space (96” Wide with

   96” Side Access Aisle) near the business entrance.

          20.     Here, the Defendant did not provide a sufficient number of ADA-

   compliant parking spaces in its parking lot, although doing so is easily and readily done,

   and therefore violated the ADA. At the Golden location, there is no ADA-Compliant Van

   Accessible space on the shortest access route to the main entrance. There is no disabled


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   parking.



                                      VI. RELIEF REQUESTED

   Injunctive Relief

          21.     Ms. Funk will continue to experience unlawful discrimination as a result

   of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so he and

   all individuals with disabilities can access the Defendant’s property equally, as required

   by law, and to compel Defendant to repave and restripe the parking lot to comply with

   the ADA. Injunctive relief is also necessary to compel Defendant to keep the property in

   compliance with federal law.



   Declaratory Relief

          22.     Ms. Funk is entitled to declaratory judgment concerning Defendant’s

   violations of law, specifying the rights of individuals with disabilities to access the goods

   and services at the Defendant’s location.

          23.     The facts are undisputed and Defendant’s non-compliance with the ADA

   has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

   violations by the Defendant.



   Attorneys’ Fees and Costs

          24.     Plaintiff is entitled to reasonable attorneys’ fees, litigation costs, and court

   costs, pursuant to 42 U.S.C. §12205.



                                  VII. PRAYER FOR RELIEF


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             THEREFORE, Ms. Funk respectfully requests this Court award the following

   relief:

             A.    A permanent injunction, compelling Defendant to comply with the

   Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

   from discriminating against Ms. Funk and those similarly-situated, in violation of the

   law;

             B.    A declaratory judgment that Defendant’s actions are a violation of the

   ADA;

             C.    Find that Ms. Funk is the prevailing party in this action, and order

   Defendant liable for Plaintiff’s attorneys’ fees, costs, and litigation expenses; and,

             D.    Grant such other and additional relief to which Plaintiff may be entitled in

   this action.



       DATED: DECEMBER 12, 2021                   Respectfully,

                                          By:     /s/ R. Bruce Tharpe
                                                  R. Bruce Tharpe

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                                                  PLAINTIFF CARA FUNK




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